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Montgomery Police Department

 

 

Written Directive
Chapter: 3 Law Enforcement Service and Authority
Section: 3.3 Use of Force
Polley: 3.3.5 Rendering Aid
CALEA No: 4.1.5
New/Amends/Rescinds: Rescinds 2.220 Dated 8-10-12
Issue Date: April 13 2018
Effective: April 27 2018
Pages: 2
Distribution: [A]
Authority: Chief of Police

 

PURPOSE:

The purpose in this directive is to establish procedures for rendering aid affer the use of force.

POLICY:

A. Personnel are required to request the Medics te provide appropriate medical aid after the use of force
in the following circumstances:

J. To all persons with obvious injuries.
2. Toall persons complaining of injuries.
3. To all persons with suspected injuries.
B. Appropriate Medical Aid may include but is aot limited to:
J. Increased observation to detect obvious changes in condition;
2. Evaluation by paramedics;
3. Flushing chemical agents from the eyes;
4. Removing barbs after Taser deployment
5. Applying first aid; or
6. For more serious or life threatening incidents, immediate aid by other medical professionals

C. Medical Aid is to be rendered by only those trained and/or certified to render such aid

 

 

Rendering Aid PLAINTIFF’S

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SCOPE:
This policy is applicable to all personnel.

RESPONSIBILITY:

it shall be the responsibility of al! personnel employed by the Montgomery Police Department to comply
with this policy.

DEFINITIONS:

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PROCEDURES:

NWA

TRAINING;

NA

ADMINISTRATIVE OVERSIGHT:

]. Annual Administrative Review:
N/A

2. Ongoing Review:
N/A

BY ORDER OF:

Ernest N. Finley,
Chief of Police

 

 

2] Rendering Aid

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